     Case 1:19-cv-00084-JRH-BKE Document 1 Filed 06/06/19 Page 1 of 12


                                                                     ^.s. disikici court
                                                                        AUGUSIa giv.
                                                                    2019 JUN-6 AH 9: 27

                                                                   CLERK.
                                                                       SO. ^i\Ui
                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION


 JACQUELINE HUMPHREY,

         Plaintiff,                              CIVIL ACTION FILE NO.


 V.
                                                         119-0
 AUGUSTA,GA CONSOLIDATED                         JURY TRIAL DEMANDED
 GOVERNMENT,

         Defendant.


                                          LAINT


        COMES NOW Plaintiff, Jacqueline Humphrey, and hereby files this

Complaint and against Defendant, Augusta, GA Consolidated Government,

showing the court as ^Ilows:

                       j I. .HTRTSDTCTTON AND VENUE

1.      This Court has subject matter jurisdiction pursuant to 28 U.S.C.§ 1331 over

Count I of this Complaint, which arises out of Title VII ofthe Civil Rights Act of

1964,42 U.S.C. § 2000 et seq.("Title VH").

2.      Venue is proper in this Court because the employment practices forming the

basis of this action were undertaken within the Augusta Division of the Southern
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District ofGeorgia.

3.      Plaintiff exhausted all administrative remedies in diis matter. Exhibit 1.

                                     n.PARTTES


4.      PlaintijBfis a citizen ofthe United States.


5.      Defendant is a local government with headquarters at 535 Telfair Street,

Augusta, Georgia,30901.

6.      Defendant City of Augusta may be served by delivering a copy of the

Complaint and Summons to 535 Telfair Street, Augusta, Georgia,30901.

7.      Defendant is subject to the requirements of the laws numerated in the

Jurisdiction and Venue section ofthis Complaint.

                          m.FACTUAL ALLEGATIONS


8.      PlaintijS^ is a Defense Equal Opportunity Institute Graduate, Certified

Mediator, and Senior Certified Affirmative Action Practitioner.

9.      Plaintiff was employed by Defendant firom November 12, 2009, to March

30,2015.

10.     Plaintiff was initially hired as Defendant's Equal Employment Opportunity

("EEO")Director.

11.     During her employment with Defendant, Plaintiff received no disciplinary

actions.
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12.    During her employment with Defendant, Plaintiff received no poor

performance reviews.

13.   In May 2014, Plaintiff investigated a complaint against Defendant's

Recreation Director.


14.    The Recreation Director advised his staff not to participate in Plaintiff's

EEO investigative process.

15.   The Recreation Director's instruction was contrary to Defendant's policies

and procedures.

16.   Plaintiff informed the Mayor and Commission that the Recreation Director

advised his staffnot to participate in the process.

17.   No remedial action was taken by Defendant.

18.   Plaintiff forwarded the complaint against the Recreation Director to the

EE(X;for ftirther processing.

19.   A few days later on or about May 20,2014,Plaintiff's position was changed

from EEO Director to EEO Coordinator.


20.   Plaintiff's position change affected her retirement vesting status.

21.   Plaintiff contacted the Mayor,Commission,and Human Resources,but at no

time was given a reason for the change in tile.

22.   Plaintifffiled an EEOC charge ofretaliation based on said change of title on
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June 24,2014.

23.   PlaintiJffreceived a Dismissal and Notice ofRights dated July 3,2014.

24.   Plaintiffchose not to pursue the claim hirther.

25.   In early 2015,Plaintiff processed the complaint ofMr.James Henry.

26.   Plaintiff found Mr. Henry's complaint to be substantiated and provided her

findings to the EEOC.

27.   On March 24, 2015, during a Commission meeting, the Mayor informed

Plaintiff that Henry refused to settle his case because the EEOC investigator

substantiated Henry's claim and that the EEOC investigator substantiated the claim

because ofPlaintifTs findings.

28.   The Commission reprimanded Plaintiff verbally for her findings during the

March 24 meeting.

29.   The Commission attempted to intimidate Plaintiffinto not finding in favor of

complainants again during the March 24 meeting.

30.   On March 25, 2015, Pl^tifif substantiated the complaint of another

employee, Lori Howard.

31.   Plaintiff provided her findings to the Commission that day.

32.   The Commission called a special meeting on March 30,2015.

33.   During that meeting, the Commission voted to terminate Plaintiffs
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employment.

34.   No reason was given by Defendantfor Plaintiflfs tenninadon.

35.   Defendant failed to follow internal policies and procedures regarding due

process for tenninadon ofa coordinator-level employee when tenninadng Plaintiff.

36.   PlamtiflPs Separation Notice gives "Termination" as the reason for

Plaintiffs termination.


37.   On April 30, 3015, Plaintiff filed a second charge of retaliation with the

EEOC,Charge No,415-2015-00577.

38.   On May 30, 2018, the EEOC found reason to believe that Defendant

terminated Plaintiffin retaliation for enga^g in a protected activity. Exhibit 2.

39.   Plaintiffreceived her Notice ofRight to Sue on March 6,2019.Exhibit 1.

                           IV. rif AIMFORRFf lFF

                      Count 1: Retaliation Under Title VTI


40.   Plaintiff reasserts and incorporates Paragraphs 1 through 39 of this

Complaint as iffiiUy set forth herein.

41.   Plaintiffs participation in the EEO process of other employees constitutes

protected activities under Title VU.Para. 13-18, 25-26, 30-31.

42.   PlaintifTs opposition to the discriminatory treatment of Defendant's

employees via her findings in multiple claims and related discussions with
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Commissioners and the Mayor constitute a protected activities under Title YH.

Para. 13-18, 25-26, 30-31.

43.       Plaintiffs participation in the EECXD process by filing her own claim of

retaliation constitutes a protected activity under Title VII.Para. 22.

44.       Defendant was aware ofaU the above protected activities.

45.       Plaintiffs termination constitutes an adverse action imder Title VU.


46.       The progression of employment actions following PlaintifPs reports of

discrimination shows causation.Para. 13-33.


47.       Defendant's failure to follow proper internal policies and procedures when

terminating Plaintiffshows causation.Para. 34-36.

48.       Defendant's attempts to bully Plaintiff itrto not substantiating employee

complaints ofdiscrimination regardless ofthe facts shows causation.Para. 27-29.

                                   PRAYER FOR RELIEF


          WHEREFORE,Plaintiff prays that this Honorable Court grant the following

relief:


          a. Trial by jury;

          b. Declaratory relief;

          c. Actual and compensatory damages in an amount to be determined by the

enlightened conscience ofajury;
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      d. Punitive damages;and

      e. Attorney's fees, costs of litigation and any other relief the Court deems

just and proper.



Date: June 4,2019.




                                     Respectfully submitte


                                      acqueli|ie Humphrey

P.O. Box 811
Evans, GA 30809
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                            JURYDEMANP


     Plaintiff requests a juiy trial on all questions of feet raised by this

Complaint




Date: June 4,2019.



                                  Jacqueline Humphrey

P.O. Box 811
Evans,GA 30809
          Case 1:19-cv-00084-JRH-BKE Document 1 Filed 06/06/19 Page 9 of 12




                                                                                U.S. Department of Justice
                                                                                Civil Rights Division

   ESD;KDW:KLF
   DJ 170-20-0                                       ,•                         ^"iploymmLUigation Section-PHB
                                                                              - ^^B,PenivsylvaniaAvBmui,NW
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                                                                             ..^^v.usdq/.gov/crl/emp
                                                                           SUE wiTKfN 90 DAYS

  CERTIFIED MAIL 7016 2140 0000 5581 4905                                                                  MAR - 6 2019
  RETURN RECEIPT REQUESTED


  Ms. Jacqueline A. Humphrey
  do S. Wesley Woolf, Esquire
  WoolfLaw Offices
 408 East Bay Street
 Savannali, GA 31401

                                           Jacqueline A. Humphrey v, City of Augusta(Richmond
                                           County). EEOC Charee No 4l«;.-?r>7s:-oo';7'7

Dear Ms. Humphrey;

              It has been determined that the Department of Justice will not file suit on the above-referenced charee of
be taken to mean that the Department ofJustice hasEmployment
brSkT'T'™                                          made a judgment as to whether
                                                              Opportunity        or not(EEOC).
                                                                           Commission  your chi-geThisi.s meritorio^.
                                                                                                          should not
              You are hereby nutifi^ that conciliation in thi;^ matter w.i<i                      i^y f»,p ppor Vnn n, rmi).. ■

such"smt
     sub must Ibe fiiT                                      respondent.
                  filed in the artoropnate court within 90 davs         Ifyou choose
                                                                ofvoiir mceini        to commence a civiUcUon.
                                                                               ofthis NnHrPt                                      -
         We are returning the files in this matter to EEOC's Savannah Local Office. If you or your aitoniev have
any questions concemmg this matter or wish to inspect Uie investigative file DJea.se fcel free        IIfi• • .
to;= ^ayra Paddla, Director. EEOC,7391 Hodgson Memorial Drive,Ste. 200, Savannah, GA 31406-2579
       'rt.                                          ••       •           Sincerely,

              -         '                                              Eric S. Dreiband
                                •                                 Assistant Attorney Genera!
                                                          -         Cm! Rights Division



                                                                      Karen D. Woodard
                                                                    Principal Deputy Chief
                                                          EmpJoynient Litigation Section

              City of Augusta^Slunond County)
              Andrew Mackenzie. General Counsel
              EEOC,Savannah Local Office




                                                                         EXHIBIT 1
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                U.S. EQUAL EMPLOYMENT OPPORTUNnY COMMl^ON
                                      SBvannab Local Office
                                                                       7391 Hodgson Menoriai Wwt,Suite200
                                                                                    Sfivtnndi,GA 3]40<>2579
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                                                                           StmuuMh DitcctDfad:(912)9204279
                                                                                         TTY(912)9204491
                                                                                         FAX(912)9204484
                                                                                      Website: T»ww.eeoe.eov
 EEOC Charge No.415-2015-00577

 Jacqueline Humphrey                                          Charging Party
 P.O. Box 811
 Evans, GA 30809

 City of Augusta(Richmond County)                             Respondent
 535 Telfair Street
 Augusta, GA 30901

                                       DETERMINATION

I issue the following determination on the merits ofthis charge.

Respondent is an employer within the meaning ofTitle VII ofthe Civil Rights Act of 1964,as
amended,42 U.S.C.§ 2000(e)          (Title VII). Timeliness and all otherjurisdictional
requirements for coverage have been met.

Charging Party alleges that she was discriminated against by Respondent in retaliation for
engaging in protected activity and by opposing unlawful discriminatory conduct. After opposing
the unlawful conduct, she was discharged.

Respondent denies Cliarging Party*s allegations.

The evidence supports a fmding that Respondent discharged Charging Party in retaliation for
engaging in a protected activity. Respondent's proffered legitimate, non-discriminatory reason
for its action does not withstand scrutiny, and is therefore pretext.

Based upon the evidence and the record as a whole,there is reasonable cause to conclude that
Charging Party was discharged in retaliation for engaging in a protected activity,in violation of
Title Vn.

Upon finding that there is reason to believe that violations have occurred,the Commission
attempts to eliminate the alleged unlawful practices by informal methods of conciliation.
Therefore,the Commission now invites the Parties to join with it in reaching ajust resolution of
this matter. In this regard, conciliation ofthis matter has now begun. A conciliation agreement
containing the types ofrelief necessary to remedy the violation of the statute is included for your
review.

When Respondent declines to enter into settlement discussions, or when the Commission's
representative for any reason is unable to secure a settlement acceptable to the ofGce Director,
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the Director shall so inform the Parties in writiiig and advise them ofthe court enforcement
alternative available to the Charging Party,aggrieved persons and the Cotmnission.The
confidentiality provisions ofthe statutes and Commission Regulations apply to information
obtained during condliatioiL

You are!
exercised their right to inquire or complain about matters they believe may violate the law.
Discrimination against persons who have cooperated in the Commission's investigation is also
prohibited. The protections apply regardless ofthe Commission's determination on the merits of
the charge.

                                                    On Behalfofthe Commission:




   HAY 3 0 2018
Date                                                Bemice Williams-Kimbroui
                                                    Director
                                                    Atlanta District Office




                                          EXHIBIT 2
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 THE KIRBY G. SMITH LAW FIRM LLC
 4488 N SHALLOWFORD RD STE 105
 ATLANTA GA 30338-6409



 WAIVER OF SIGNATURE
 SCHEDULED DELIVERY 12:00 PM




         U.S. DISTRICT COURT SOUTHERN DISTRICT OF OA
         PO 60X1130
         AUGUSTA GA 30903-1130


                 USPS TRACKING #



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